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12
                          IN THE UNITED STATES DISTRICT COURT
13                      FOR THE EASTERN DISTRICT OF CALIFORNIA
                                     Sacramento Division
14
                                                       Case No. 2:20-cv-296
15 UNITED STATES OF AMERICA AND THE
     STATE OF CALIFORNIA, ex rel.
16
   MICHAEL BICOCCA                                     FILED UNDER SEAL
17      2530 Highland Hills Drive
        El Dorado Hills, CA 95762                      FIRST AMENDED COMPLAINT FOR
18                                                     VIOLATIONS OF THE FALSE CLAIMS
                   Plaintiff,                          ACT, 31 U.S.C. §§ 3729, et seq.; AND THE
19
                                                       CALIFORNIA FALSE CLAIMS ACT,
20 v.                                                  CAL. GOV’T CODE §§ 12650, et seq.

21 PERMANENTE MEDICAL GROUP, INC.
            1950 Franklin Street, 18th Floor,          JURY TRIAL DEMANDED
22          Oakland, CA 94612
23
   SOUTHERN CALIFORNIA PERMANENTE
24 MEDICAL  GROUP, INC.
        393 Walnut Drive,
25      Pasadena, CA 91107
26 THE PERMANENTE FEDERATION, LLC.
        One Kaiser Plaza,
27
            27th Floor,
28          Oakland, CA 94612
                                                   -2-
                                                                      FIRST AMENDED COMPLAINT
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1    KAISER FOUNDATION HEALTH PLAN,
     INC.
2         One Kaiser Plaza Suite 15L,
          Oakland, CA 94612
3
4                   Defendants.

5
                                    FIRST AMENDED COMPLAINT
6
        I. Introduction
7
8           1.      Qui tam relator Michael Bicocca (“Relator”), through his attorneys, individually,

9    and on behalf of the United States of America and the State of California, files this First

10 Amended Complaint against the above-named Defendants to recover damages, penalties, and
11 attorneys’ fees for violations of the federal False Claims Act (“FCA”), 31 U.S.C. §§ 3729 et seq.,
12
     and the California False Claims Act (“CFCA”), Cal. Gov’t Code § 12651 et seq.
13
            2.      Defendants require Permanente physicians to record that their Medicare and
14
     California Public Employees’ Retirement System (“CalPERS”) patients have chronic conditions,
15
16 and that the physician discussed and adequately considered the patients’ chronic condition during
17 the physicians’ treatment. This diagnosis and management recordation is required of all
18 Permanente physicians regardless of whether the physician has the appropriate training, skills, or
19 expertise to identify much less address the specific chronic conditions.
20
            3.      Additionally, Defendants training instructs Permanente physicians to indicate
21
     diagnosis and management of their patients’ chronic conditions whether the physician actually
22
     diagnosed, confirmed, or managed the condition.
23
24          4.      As will be described below, the Kaiser defendants then use these diagnoses and

25 statements to inflate the risk adjustment scores submitted to Medicare and CalPERS to receive
26 inflated capitation payments from the United States and the State of California.
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1             5.      Because the risk adjustment data Defendants submit or cause to be submitted to

2    Medicare and CalPERS for continued capitation rates intentionally and falsely states that the
3    patients’ chronic conditions were properly diagnosed and were effectively managed, Defendants
4
     receive additional, undeserved capitation amounts.
5
           II. Jurisdiction and Venue
6
              6.      This Court has subject matter jurisdiction over this action under the FCA because
7
8    it is an action arising under the laws of the United States, specifically 31 U.S.C. § 3730(b).

9             7.      This Court has personal jurisdiction over Defendants pursuant to 31 U.S.C.

10 § 3732(a) because Defendants transact business in this judicial district.
11        8.     Venue is proper in this Court under 28 U.S.C. § 1391(c) and 1395(a) because
12
     illegal acts occurred within this judicial district, Defendants are resident of this district, and
13
     because Defendants transact business within this judicial district.
14
              9.      This Court has personal jurisdiction over Defendants because the Defendants are
15
16 in the State of California.
17         III. Parties

18            10.     Relator Bicocca is an anesthesiologist with more than 20 years of experience.
19 Bicocca holds a Bachelor of Science degree from California Polytechnic State University in San
20
     Luis Obispo and earned his MD from Northeastern Ohio Universities Colleges of Medicine and
21
     Pharmacy. 1 Bicocca completed his residency at the University of California, Davis, and did a
22
     fellowship at Massachusetts General Hospital in Boston.
23
24            11.     Bicocca served as Chief of Pain Management for Kaiser Hospitals in Modesto,

25 Stockton, and South Sacramento, California, before he voluntarily stepped down to return to
26
27
     1
         Northeastern Ohio Universities Colleges of Medicine and Pharmacy is now known as Northeast
28 Ohio Medical University (NEOMED).
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1    medical practice full-time. Bicocca subsequently worked as a pain management physician at

2    Kaiser’s South Sacramento facility until he retired in December 2019.
3            12.    Bicocca’s practice focused primarily on pain management. Pain management
4
     includes, but is not limited to, management of chronic pain, including facet joint injections.
5
             13.    The Permanente Federation, LLC, (Permanente Federation) is a network of
6
     corporations that employs thousands of physicians. These corporations are not legally affiliated
7
8    with each other. However, the Permanente groups’ upper level management frequently comingle

9    between firms. For example, Rich Isaacs, CEO and Executive Director of Permanente Medical

10 Group, is also the President and CEO of Mid-Atlantic Permanente, while also working as Co-
11 Chief Executive Officer of the Permanente Federation.
12
             14.    Through the Permanente Federation, the heads of the other Permanente branches
13
     coordinate on larger business decisions and plans, while sharing best practices.
14
             15.    Permanente Federation contracts with Kaiser to provide physicians to Kaiser
15
16 hospitals and the Kaiser insurance group. Permanente Federation provides services exclusively to
17 Kaiser.
18           16.    One of the corporations within the Permanente Federation network is Permanente
19 Medical Group (“Permanente”), which has twenty one (21) locations in California, including:
20
     Antioch, Fremont, Fresno, Modesto, Oakland, Redwood City, Richmond, Roseville, Sacramento,
21
     San Francisco, San Jose, San Leandro, San Rafael, Santa Clara, Santa Rosa, South Sacramento,
22
     South San Francisco, Stockton, Vacaville, Vallejo, and Walnut Creek.
23
24           17.    Permanente serves as both the Northern California regional group and as the

25 flagship group of the Permanente Federation. Permanente is based in Northern California and is
26 the largest Permanente Medical physicians’ group, with more than 25,000 employees.
27
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1           18.     About one third of Permanente’s patients are Medicare recipients who are covered

2    by Kaiser under Medicare Part C plans.
3           19.     Southern California Permanente Medical Group, Inc. is the Permanente group
4
     within the Permanente Federation responsible for administering medical care to Southern
5
     California residents.
6
            20.     Kaiser Foundation Health Plan, Inc. is a nonprofit organization and a Medicare
7
8    Advantage plan called Kaiser Permanente Senior Advantage. The Kaiser Permanente Senior

9    Advantage offers several plans throughout its Regions. Kaiser Foundation Health Plan maintains

10 Regions in Northern California, Southern California, Colorado, Georgia, Hawaii, Maryland,
11 Oregon, Virginia, Washing, and Washington, D.C.
12
        IV. Medicare Overview
13
            21.     In 1965, Congress enacted Title XVIII of the Social Security Act under 42 U.S.C.
14
     § 1395, et seq. (“The Medicare Program” or “Medicare”) authorizing the federal government to
15
16 pay for the cost of certain medical services for persons aged 65 and older.
17          22.     The United States, through the Department of Health and Human Services

18 (“HHS”), administers the Medicare program.
19    V. Medicare Advantage Organizations under Medicare
20
            23.     Medicare Part C, or Medicare Advantage, is a program in which CMS works
21
     closely with private companies, called Medicare Advantage Organizations (MAOs), to offer
22
     semi-private, semi-public plans that cover Medicare Part A and B services. Part C plans will
23
24 sometimes also cover prescription drug benefits under Medicare Part D. See U.S., ex rel.
25 Osheroff v. HealthSpring, Inc., 938 F. Supp. 2d 724, 726 (M.D. Tenn. 2013).
26          24.      “The Centers for Medicare & Medicaid Services (‘CMS’) compensates MAOs at
27 a capitated rate for the delivery of benefits. To participate in the Medicare Advantage program,
28
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1    MAOs must submit bids to CMS every year in which they offer to provide services for a

2    specified amount per member, per month. Each participating MAO must then enter into a
3    contract with CMS, the terms of which require the MAO to comply with certain laws, including.
4
     . . . the [False Claims Act]. To receive payment for services provided under the Medicare
5
     Advantage program, MAOs must submit monthly payment requests to CMS along with monthly
6
     reports certifying that all information submitted to CMS in this report is accurate, complete, and
7
8    truthful.” United States ex rel. Derrick v. Roche Diagnostics Corp., 318 F. Supp. 3d 1106, 1110

9    (N.D. Ill. 2018) (internal citations and quotations omitted).

10          25.     “[B]y statute CMS must pay Medicare Advantage insurers in a manner that
11 ensures ‘actuarial equivalence’ with payments to traditional Medicare providers.”
12
     UnitedHealthcare Ins. Co. v. Azar, No. CV 16-157 (RMC), 2020 WL 417867, at *1 (D.D.C. Jan.
13
     27, 2020) (citing 42 U.S.C. § 1395w-23(a)(1)(C)(i)).
14
            26.     “Traditional Medicare uses a fee-for-service payment model, whereby the more
15
16 services physicians perform, the more money they earn. . . . Capitation means an amount is paid
17 per person. Under Medicare Advantage’s capitation system, private health insurance
18 organizations provide Medicare benefits in exchange for a fixed monthly fee per person enrolled
19 in the program—regardless of actual healthcare usage. These organizations pocket for
20
     themselves or pay out to their enrollees’ providers the difference between their capitation
21
     revenue and their enrollees’ medical expenses, creating an incentive for the organizations to rein
22
     in costs.” United States ex rel. Anita Silingo v. WellPoint, Inc., 904 F.3d 667, 672 (9th Cir. 2018)
23
24 (internal citations and quotations omitted).
25          27.     “CMS calculates the payment for each enrollee based on various risk adjustment

26 data, such as an enrollee’s demographic profile and the enrollee’s health status, as reflected in
27 the medical diagnosis codes associated with healthcare the enrollee receives. These diagnosis
28
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1    codes (also known as encounter data) are reported by Medicare Advantage organizations to

2    CMS. Because Medicare Advantage organizations have a financial incentive to exaggerate an
3    enrollee’s health risks by reporting diagnosis codes that may not be supported by the enrollee’s
4
     medical records, Medicare regulations require a Medicare Advantage organization, as an express
5
     condition of receiving payment, to certify (based on best knowledge, information, and belief)
6
     that the risk adjustment data it submits ... are accurate, complete, and truthful.” United States v.
7
8    United Healthcare Ins. Co., 848 F.3d 1161, 1166 (9th Cir. 2016) (citing 42 C.F.R. § 422.504(l),

9    (l)(2))). (internal quotations omitted).

10           28.     Simply put, Medicare Advantage is supposed to compensate these organizations
11 for expected healthcare costs, paying “less for healthier enrollees and more for less healthy
12
     enrollees.” WellPoint, Inc., 904 F.3d at 672.
13
             29.     Capitation rates are based largely on an individual’s “risk adjustment data,” which
14
     reflect several factors that can affect healthcare costs. Id. Chief among these data are individuals’
15
16 medical diagnoses. Id.
17           30.     The method by which CMS calculates the capitated rate to Medicare Advantage

18 organizations is described in greater detail below. See Infra at Section VII.
19        31.     Defendants’ patients covered by public insurance programs are predominantly
20
     participants in the Kaiser Permanente Senior Advantage Enhanced Plan (HMO), which is a
21
     Medicare Part C plan that provides Medicare Part D benefits as well.
22
             32.     Kaiser therefore receives a capitation rate from CMS for each Part C patient it
23
24 covers. This rate is meant to cover the cost of care for the patient.
25
26
27
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1       VI. California Public Employees’ Retirement System

2           33.      CalPERS is a retirement system created by statute, for the purpose of
3    administering retirement, disability and death benefits for California state employees. Cal. Gov't
4
     Code § 20001 et seq.
5
            34.      “CalPERS is a unit of the Government Operations Agency. In addition to
6
     administering the retirement system for employees of California and other public entities,
7
8    CalPERS operates health insurance plans, including the PERS Choice health plan. . . .”

9    Orthopedic Specialists of S. California v. Pub. Employees' Ret. Sys., 228 Cal. App. 4th 644, 646

10 (2014) (quotations omitted).
11        35.     As a retiree, when a member first becomes eligible for Medicare, they must
12
     request a change from a CalPERS Basic Health Plan to a CalPERS Medicare Health Plan. When
13
     a CalPERS member retires and enrolls in Medicare Part A and Part B, CalPERS will work with
14
     the CMS to obtain the retiree’s Medicare information and automatically transfer the retiree from
15
16 a CalPERS Basic (non-Medicare) health plan to a CalPERS Medicare health plan.
17          36.      The CalPERS Medicare Health Plan requires Medicare to assume the role as the

18 primary payer for health care costs, thus CalPERS members who receive health services result in
19 expenditures to Medicare.
20
            37.      At least 10% of the entire Permanente patient population is on the CalPERS
21
     program.
22
        VII.      Risk Adjustment Factors for Capitation Rate Calculations
23
24          38.      “CMS calculates the payment for each enrollee [in a MAO] based on various risk

25 adjustment data, such as an enrollee’s demographic profile and the enrollee’s health status, as
26 reflected in the medical diagnosis codes associated with healthcare the enrollee receives. These
27 diagnosis codes (also known as encounter data) are reported by Medicare Advantage
28
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1    organizations to CMS.” United Healthcare Ins. Co., 848 F.3d at 1166 (citing 42 C.F.R.

2    § 422.504(l), (l)(2))).(internal quotations omitted).
3           39.     Capitation rates are based largely on an individual’s “risk adjustment data,” which
4
     reflect several factors that can affect healthcare costs. Chief among these data are individuals’
5
     medical diagnoses. WellPoint, Inc., 904 F.3d at 672.
6
            40.     “Risk adjustment using diagnoses provides more accurate payments for MA
7
8    organizations, with higher payments for enrollees at risk for being sicker, and lower payments

9    for enrollees predicted to be healthier.” CMS, Pub. No. 100-16, Medicare Managed Care

10 Manual, ch. 8, § 50 (2014), https://www.cms.gov/Regulations-and-
11 Guidance/Guidance/Manuals/Downloads/mc86c08.pdf.
12
            41.     “The [Balanced Budget Act of 1997] and later legislation required CMS to adjust
13
     per-beneficiary capitation payments with a risk adjustment methodology using diagnoses to
14
     measure relative risk due to health status instead of just demographic characteristics such as age,
15
16 sex, and Medicaid eligibility.” Id.
17          42.     “Effective January 1, 2005, CMS implemented the ESRD CMS-HCC models

18 based on diagnoses from inpatient, outpatient, and physician settings, and distinguishing dialysis,
19 transplant, and functioning graft statuses.” Id.
20
            43.     “The CMS-HCC models function by categorizing International Classification of
21
     Diseases codes into disease groups called Hierarchical Condition Categories (HCCs). Each HCC
22
     includes diagnosis codes that are related clinically and have similar cost implications. The CMS-
23
24 HCC models are prospective in the sense that they use diagnosis information from a base year to
25 predict costs for the next year. Models of this type are largely driven by the costs associated with
26 chronic diseases, and they capture the systematic risk (costs) associated with Medicare
27 populations.” Id.
28
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1           44.     CMS uses “CMS-HCC risk adjustment models . . . to calculate risk scores, which

2    predict individual beneficiaries’ health care expenditures, relative to the average beneficiary.
3    Risk scores are used to adjust payments and bids based on the health status (diagnostic data) and
4
     demographic characteristics (such as age and gender) of an enrollee.” CMS, Pub. No. 100-16,
5
     Medicare Managed Care Manual, ch. 7, § 70 (2014), https://www.cms.gov/Regulations-and-
6
     Guidance/Guidance/Manuals/downloads/mc86c07.pdf.
7
8           45.     “Beneficiary risk scores are used to adjust each plan’s base payment rate for

9    member health status, the first step in determining the per-person per month payment to MA

10 organizations.” CMS, Pub. No. 100-16, Medicare Managed Care Manual, ch. 8, § 50 (2014),
11 https://www.cms.gov/Regulations-and-Guidance/Guidance/Manuals/Downloads/mc86c08.pdf.
12
            46.     “CMS uses demographic and diagnostic information from original Medicare and
13
     from all MA organizations a beneficiary may have joined (taken from diagnostic data submitted
14
     by the organizations) to determine the appropriate risk score for each beneficiary. The risk score
15
16 is computed for each beneficiary for a given year and applied prospectively. The risk score
17 generally follows the beneficiary for one calendar year.” Id. (emphasis added).
18          47.     Medicare Advantage organizations obtain diagnosis codes from healthcare
19 providers after these providers have had medical visits with plan enrollees. See CMS, Pub. No.
20
     100-16, Medicare Managed Care Manual, ch. 7, § 40 (2014), https://www.cms.gov/Regulations-
21
     and-Guidance/Guidance/Manuals/downloads/mc86c07.pdf. In turn, Medicare Advantage
22
     organizations report the diagnosis codes that they receive to the CMS for use in the risk
23
24 adjustment model that is the key to calculation of capitation rates. Id.
25          48.     All diagnosis codes submitted must be documented in the medical record and

26 must be documented as a result of a face-to-face visit. The diagnosis must be coded according to
27
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1    International Classification of Diseases, (ICD) Clinical Modification Guidelines for Coding and

2    Reporting. Id.
3           49.       For the diagnosis to be considered in the capitation calculation, the MAO must,
4
     “submit all required diagnosis codes for each beneficiary and submit unique diagnoses at least
5
     once during the risk adjustment data-reporting period. Submitters must filter diagnosis data to
6
     eliminate the submission of duplicate diagnosis clusters. . . If upon conducting an internal review
7
8    of submitted diagnosis codes, the plan sponsor determines that any diagnosis codes that have

9    been submitted do not meet risk adjustment submission requirements, the plan sponsor is

10 responsible for deleting the submitted diagnosis codes as soon as possible.” Id.
11        50.     Similarly, the plan must “receive and reconcile CMS Risk Adjustment Reports in
12
     a timely manner. Plan sponsors must track their submission and deletion of diagnosis codes on
13
     an ongoing basis.” Id.
14
            51.       “Once CMS calculates the final risk scores for a payment year, plan sponsors may
15
16 request a recalculation of payment upon discovering the submission of inaccurate diagnosis
17 codes that CMS used to calculate a final risk score for a previous payment year and that had an
18 impact on the final payment. Plan sponsors must inform CMS immediately upon such a finding.”
19 Id.
20
            52.       “CMS requires Medicare Advantage plans to collect hospital inpatient, hospital
21
     outpatient, and physician risk adjustment data and submit the data to CMS at least quarterly for
22
     calculation of the risk score for use in the payment calculation and payment reconciliation…
23
24 Once plans have collected the data and verified the data came from an acceptable data source,
25 the plans submit the data using the Risk Adjustment Processing System (RAPS) format and
26 provide the five required data elements in the cluster.” Id. At Section 120. The five required data
27 elements include: the Health Insurance Claim Number (the beneficiary identification number),
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1    the diagnosis code, the “service from date”, the “service to date” (may be the same as the

2    “service from date for outpatient and physician services), and the provider type (must be a
3    hospital inpatient facility, hospital outpatient facility, or physician). See id.
4
             53.     CMS requires that diagnostic data for the purposes of risk management reporting
5
     come from and appropriate source – specifically a hospital inpatient facility, hospital outpatient
6
     facility, or a physician. Id. At Section 120.1.1. “Diagnostic radiologists typically do not
7
8    document confirmed diagnoses. The diagnosis confirmation comes from referring physicians or

9    physician extenders and is, therefore, not assigned in the medical record documentation from

10 diagnostic radiology services alone.” Id.
11        54.     “The collection of physician data relevant for risk adjustment is associated with
12
     the physician’s specialty.” Id. (emphasis added). “Qualified physician data for risk adjustment
13
     requires a face-to-face visit with the exception of pathology services (professional component
14
     only). Only those physician specialties and other clinical specialists identified [by CMS] are
15
16 acceptable for risk adjustment.” Id. (See Table 19. Acceptable Physician Specialty Types
17 Payment Year 2011 (dates of service 2010 at p. 46 for list of physician specialties and other
18 clinical specialists deemed appropriate to identify data for risk adjustment purposes.).
19     VIII. Chronic Condition Management (CCM)
20
             55.     In 2015, Medicare changed its rules to focus on preventative care, especially
21
      regarding patients who suffer from chronic health conditions.
22
             56.     The latest change or rules related to chronic care management can be found in the
23
24    Federal Register, from a proposed, and accepted rules change in November 2016. Reducing

25    Administrative Burden and Improving Payment Accuracy for Chronic Care Management

26    (CCM) Services 81 FR 80243.
27
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1           57.     The proposed rule changes provide further information regarding the rationale for

2    these changes. “Beginning in CY 2015, [CMS] implemented separate payment for CCM services
3    under CPT code 99490 (Chronic care management services, at least 20 minutes of clinical staff
4
     time directed by a physician or other qualified health professional, per calendar month) . . . .” 81
5
     FR 80243.
6
            58.     The purpose of this change was “to improve payment for, and encourage long-
7
8    term investment in, care management services.” 81 FR 80243 (citing 79 FR 67715).

9           59.     The changes in the rules reflected the regulators’ desire to make sure physicians

10 and facilities had “the resources required to furnish complex chronic care management services
11 to beneficiaries with multiple (that is, two or more) chronic conditions were not adequately
12
     reflected in the existing E/M codes.” 81 FR 80243.
13
            60.     In addition to making sure physicians had the time, resources, and compensation
14
     to fully manage their patients’ chronic conditions, the regulators were also concerned with
15
16 making sure physicians were sufficiently capable of furnishing such services.
17          61.     “In finalizing separate payment for CPT code 99490, [CMS] considered whether

18 [CMS] should develop standards to ensure that physicians and other practitioners billing the
19 service would have the capability to fully furnish the service.” 81 FR 80243 (citing 79 FR
20
     67721).
21
            62.     “[CMS] established requirements to furnish a preceding qualifying visit, obtain
22
     advance written beneficiary consent, use certified electronic health record (EHR) technology to
23
24 furnish certain elements of the service, share the care plan and clinical summaries electronically,
25 document specified activities, and other items. . . .” 81 FR 80243.
26          63.     A common complaint listed among stakeholders was that the chronic care
27 management CPT code was usually exceeded without additional benefit, disincentivizing care
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1    longer of 20 minutes, which led to the revision/creation of CPT code 99487, meant specifically

2    for “complex” cases, where there would be higher reimbursement for 60 minutes of time spent
3    with patients. See 81 FR 80244.
4
            64.     There are two categories chronic conditions that Medicare focuses on: complex
5
     and non-complex.
6
            65.     The criteria for billing for monitoring and management of “non-complex” chronic
7
8    conditions (CPT Code 99490) are:

9                   a. a doctor/physician assistant/nurse practitioner must spend at least 20 minutes

10                     with the patient per month,
11                  b. the patient must have multiple chronic conditions expected to last at least 12
12
                       months,
13
                    c. the chronic condition must place the patient at significant risk of death,
14
                       decompensation, or functional decline, and
15
16                  d. a comprehensive care plan must be established, implemented and monitored

17                     by the care giver.

18          66.     If the criteria for non-complex patients’ chronic care management plans are met,
19 providers would receive a reimbursement of approximately $43.00 per patient per month on a
20
     fee-for-service plan (FFS).
21
            67.     The criteria for billing for monitoring “complex” chronic conditions (CPT Code
22
     99487) are the following:
23
24                  a. patients must have multiple chronic conditions expected to last at least 12

25                     months (or until death),

26                  b. the chronic conditions place the patient at significant risk of death or
27                     functional decline,
28
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1                   c. the medical providers establish a comprehensive care plan,

2                   d. there must be moderate or high complexity in medical decision making, and
3                   e. a doctor/physician assistant/nurse practitioner must spend at least 60 minutes
4
                        with the patient per month.
5
            68.     Physicians should be providing an in-depth analysis of patient conditions to
6
     determine if the conditions are being controlled; a physician can’t simply ask if the patient is on
7
8    medication or if they have experienced mood swings but needs to provide a more thorough

9    service to bill for the complex chronic care management.

10          69.     If the criteria for complex patients’ chronic care management plans are met,
11 providers would receive a reimbursement of approximately $94.00 per patient per month on a
12
     Fee-for-service (FFS) plan.
13
            70.     Several conditions qualify as chronic conditions. These include:
14
                    a. Alzheimer’s Disease and Related Dementia
15
16                  b. Arthritis (Osteoarthritis and Rheumatoid)

17                  c. Asthma

18                  d. Atrial Fibrillation
19                  e. Autism Spectrum Disorders
20
                    f. Cancer (Breast, Colorectal, Lung, and Prostate)
21
                    g. Chronic Kidney Disease
22
                    h. Chronic Obstructive Pulmonary Disease
23
24                  i. Depression

25                  j. Diabetes

26                  k. Heart Failure
27                  l. Hepatitis (Chronic Viral B & C)
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1                   m. HIV/AIDS

2                   n. Hyperlipidemia (High cholesterol)
3                   o. Hypertension (High blood pressure)
4
                    p. Ischemic Heart Disease
5
                    q. Osteoporosis
6
                    r. Schizophrenia and Other Psychotic Disorders
7
8                   s. Stroke

9           71.     MAOs offered under Medicare Part C cover all Part A and Part B services. Since

10 CCM is a current Part B benefit, all Medicare Advantage plans have CCM as a covered benefit
11 for their enrolled members. See National Council on Aging, Chronic Care Management
12
     Information Resource 11 (March 2018), https://www.ncoa.org/wp-content/uploads/CCM-
13
     Information-Resource_FINAL_031218.pdf.
14
            72.     The CCM program developed by CMS and billed by providers under CPT Codes
15
16 99490 and 99487 apply only to Medicare Part B Fee for Service plans, not to Medicare Part C
17 plans. However, because Part C plans must encompass all the services provided under Parts A
18 and B, a discussion of CCM in the Fee for Service context is necessary to provide the baseline of
19 CCM services that must be provided by Part C plans. Additionally, the fact that CCM services
20
     are reimbursed as additional services demonstrates that the provision of CCM services is
21
     material to CMS payment decisions.
22
            73.     The regulations governing chronic condition management and the costs of such
23
24 care are factored into the capitation rates given to Defendants by CMS both because CCM is a
25 service offered under Part B, and because existence of additional chronic conditions increases the
26 Part C plan’s risk adjustment score leading to increased capitation rates.
27
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1              74.   In sum, CCM is meant to be an in-depth review and plan for managing difficult,

2    often complex, conditions that usually require the skills of a specialist, or that of an experienced
3    general physician and to appropriately compensate providers for the extra time and effort
4
     required to manage these chronic conditions.
5
               75.   “CCM was designed for primary care practitioners who comprehensively
6
     manage all of a patient’s care. For example, it includes a comprehensive care plan addressing all
7
8    health issues and ensuring receipt of preventive services. However, any practitioner who meets

9    the CCM requirements can bill CCM . . . .” CMS, Frequently Asked Questions about Physician

10 Billing for Chronic Care Management Services 6 (January 1, 2019),
11 https://www.cms.gov/Medicare/Medicare-Fee-for-Service-
12
     Payment/PhysicianFeeSched/Downloads/Payment_for_CCM_Services_FAQ.pdf (emphasis
13
     added).
14
               76.   Relator Bicocca, before Permanente’s scheme began, would rarely engage in
15
16 CCM as a part of his Paint Management specialty.
17             77.   Relator’s knowledge of medical practice in general suggests that most specialists

18 also spend little time on CCM unless that chronic condition is directly applicable to that
19 specialist’s practice.
20
               78.   Relator’s knowledge of medical practice in general suggests that, aside from
21
     specialists engaging in CCM related to their practices, most CCM comes into play with
22
     experienced generalists who have elderly patients with multiple chronic conditions.
23
24      IX. The False Claims Act and California False Claims Act

25             79.   The FCA, 31 U.S.C. §§ 3729–3733 was enacted in 1863 by Congress and

26 provides that any person who knowingly submitted false claims to the government was liable for
27 damages plus a penalty for each claim. The FCA has been amended several times.
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1           80.     The FCA imposes liability on any person or entity who knowingly presents or

2    causes to be presented a false or fraudulent claim for payment or approval. 31 U.S.C.
3    § 3729(a)(1)(A). Additionally, those who make, use or cause to be made a false statement or
4
     record material to the claim are also liable under the FCA. 31 U.S.C. § 3729(a)(1)(B).
5
            81.     The terms “knowing” and “knowingly” are defined by the statute as a “person”
6
     having actual knowledge of the information, acting in deliberate ignorance of the truth or falsity
7
8    of the information, or acting in reckless disregard of the truth or falsity of the information. 31

9    U.S.C. § 3729(a)(3)(B)(4).

10          82.     The term “material” means having a natural tendency to influence, or be capable
11 of influencing, the payment or receipt of money or property. 31 U.S.C. § 3729(a)(3)(B)(4).
12
            83.     “A claim under the False Claims Act requires a showing of (1) a false statement
13
     or fraudulent course of conduct, (2) made with the scienter, (3) that was material, causing (4) the
14
     government to pay out money or forfeit moneys due.” United States ex rel. Campie v. Gilead
15
16 Scis., Inc., 862 F.3d 890, 899 (9th Cir. 2017), cert. denied sub nom. Gilead Scis., Inc. v. U.S. ex
17 rel. Campie, 139 S. Ct. 783, 202 L. Ed. 2d 566 (2019).
18          84.     Any person who violates the FCA is liable for damages in the amount of three
19 (3) times the amount of loss the government sustained and penalties which range between
20
     $10,957 and $21,916 per claim. 31 U.S.C. § 3729(a); 28 C.F.R. § 85.3.
21
            85.     The California False Claims Act also imposes liability on any person or entity
22
     who knowingly presents or causes to be presented a false or fraudulent claim for payment or
23
24 approval to the State of California. Cal. Gov’t Code § 12651 et seq.
25          86.     “[Fraud against] [t]he Medicare Advantage capitation payment system is subject

26 to the False Claims Act.” WellPoint, Inc., 904 F.3d at 673.
27
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1        X. Factual Overview

2           87.      The Kaiser defendants, who contracts with CMS, to insure Medicare beneficiaries
3    through the Medicare Advantage program, and the State of California to provide insurance to
4
     CalPERS beneficiaries improperly increases its capitation rate through identifying and adding as
5
     many diagnosis as possible to increase the risk adjustment data submitted to CMS which in turn
6
     increases the capitation rate Kaiser receives for provide care to Medicare beneficiaries.
7
8           88.      The Permanente defendants work hand in glove with the Kaiser defendants to

9    perpetuate this overbilling by training all Permanente physicians to indicate that Medicare and

10 CalPERS patients have chronic conditions and record that the chronic conditions were discussed
11 with the patient so that it appears that the diagnosis, re-affirmation of the diagnosis, and chronic
12
     condition management was appropriately provided by the physician. Permanente reinforces this
13
     training by tracking compliance metrics and offering “retraining” to physicians whose
14
     certification numbers fall too low.
15
16          89.      Bicocca raised concerns to the trainers and Permanente management that what he

17 and his fellow physicians were being instructed to do was not truthful and amounted to fraud. In
18 response, Bicocca and his team were given sufficient leeway to alter the language in the charts to
19 be truthful to the services Bicocca felt were performed, but this exception was not communicated
20
     to other Permanente physicians resulting in the vast majority of Permanente physicians blindly
21
     indicating the existence of chronic conditions and management of the same.
22
                  a. Permanente trains its physicians to indicate that Medicare and CalPERS
23                   patients have chronic conditions and chart that the conditions were
24                   confirmed and discussed.

25          90.      In or around 2015, Permanente changed how it directed its physicians to

26 “manage” chronic conditions through a series of trainings on billing, note writing, and coding.
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1            91.    Permanente claimed that this change was to increase patient care. However, that

2    statemen was quickly belied by the fact that the change in how physicians were required to
3    manage chronic conditions was only required for Medicare and CalPERS patients, not all
4
     patients.
5
             92.    The trainings and policy changes directed by Permanente management were
6
     meant specifically to affect only Medicare and other public benefits patients, creating a two-
7
8    tiered system of chronic care management, where private health insurance patients are given the

9    usual chronic care management, if any, and where physicians are required to check off all

10 chronic conditions that could conceivably apply to a Medicare of CalPERS patient and place a
11 certifying statement in the patient’s record that the condition was discussed and managed,
12
     without adequate management of those chronic conditions as required by federal regulations and
13
     CMS. Again, this mandate was only required for patients with public benefits, not all patients
14
     seen by Permanente physicians.
15
16           93.    Over time, Defendants’ method of directing physicians to perform this fraud grew

17 more subtle as Bicocca continually objected to the trainings.
18           94.    In or around 2015, along with rolling out new training on chronic conditions,
19 Permanente started providing physicians with MDP reports. These reports were printed in hard
20
     copy for each Medicare or CalPERS patient the doctor had scheduled that day and the report
21
     listed the patient’s chronic conditions that Permanente wanted the doctor to check off in the
22
     EMR. An electronic version of the MDP Report existed in the EMR and was called an App1.
23
24           95.    In addition to the printed MDP reports, the EMR had “pushpins” that listed the

25 patient’s chronic conditions separate from their other problems and conditions. These pushpins
26 were set apart to draw attention to the chronic conditions so that the doctor would check the box
27 next to these chronic conditions in the EMR.
28
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1           96.     Finally, in 2015, Permanente added a new column to the doctors’ schedules in the

2    EMR – an MDP column. This column indicated who in the doctor’s daily schedule was a
3    Medicare or CalPERS beneficiary who had outstanding chronic conditions to be check off.
4
            97.     If a doctor saw a patient with an MDP report, but did not check off on all of the
5
     chronic conditions listed on the MDP report and in the EMR, the doctor would get a follow up
6
     email, automatically generated by the system, asking the doctor if they had confirmed and
7
8    addressed those diagnoses and forgot to chart that in the EMR. The email then told the doctor

9    that they still had time to check off the chronic conditions and add a chart note explaining the

10 delay.
11        98.       In addition to clicking the boxes in the EMR for the patient’s chronic conditions,
12
     the physicians were also instructed to include language in the patient’s chart for the visit that
13
     indicated that the condition’s diagnosis was confirmed, considered in the doctor’s care, that the
14
     condition was discussed, and that the condition is stable.
15
16          99.     Senior leadership at Permanente, including Jason Guardino, the Assistant

17 Physician in Charge (APIC) and Chief of Gastroenterology Department, provide the language for
18 the certifying statements.
19         100. Senior leadership at Permanente, through emails and training initiatives, directed
20
     physicians to insert the following in their charts:
21
                    I have confirmed the presence of the above clinical diagnoses,
22                  which were considered in the current and ongoing care of the
                    patient. At the time of the visit, the medical record indicates,
23                  and/or the patient states, that there are no changes in these
24                  conditions unless otherwise noted. As treatment warrants, the
                    patient has been advised to follow up with her PCP or appropriate
25                  specialist.

26          101.    This statement suggests that some, but not all of the steps of management of a
27 patient’s chronic conditions are satisfied: (1) the physician confirms that the patient has
28
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1    qualifying chronic conditions, and (2) the physician considers these chronic conditions when

2    making medical decisions about that patient.
3           102.    The statement also notes that, if there are no additional notes, then there were no
4
     changes in the patient’s chronic conditions, while also noting that the patient was advised to
5
     speak to their specialist physicians regarding those specialist conditions if necessary.
6
            103.    This is problematic, however, as the regulations show that management of a
7
8    patient’s condition typically means acting as that specialist, not simply referring the issue away.

9           104.    For example, below is an email from Permanente confirming the language of the

10 certification, dated August 11, 2015. The email includes a statement by Serene Tran, a trainer for
11 Permanente.
12
13
14
15
16
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1           105.    This statement is widely distributed to physicians at Permanente. Insertion of the

2    statement in appointment notes is made easy using something called a “dot phrase,” which only
3    requires typing a quick shortcut to have the entire statement appear on the patient’s records. The
4
     statement, as can be seen below, can be efficiently input by just typing the dot phrase “.FOL”
5
     into the electronic database.
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
            106.    Interestingly, the above list contains more than the original statement. Also
26
     included are addenda phrases meant to modify the list of diagnoses confirmed after the fact.
27
28 While it is reasonable that physicians may accidentally over or under include diagnoses after an
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1    appointment, Bicocca states that one purpose of these additional dot phrases was to allow for

2    physicians not meeting their criteria to increase their “success rate.” 2 These codes do not just
3    add language to remedy an existing diagnosis where the provider failed to enter a timely .FOL
4
     statement indicating that the chronic condition was adequately managed, these additional codes
5
     also encourage providers to add additional diagnoses to the chronic condition list that were not
6
     previously present in the patient chart.
7
8             107.   Permanente requires physicians, in addition to adding the .FOL statement, to go

9    through the a list of chronic conditions with every public benefits patient, check up on the status

10 of those diagnoses, and confirm them, regardless of whether physicians have the time or
11 qualifications to do so. It is difficult for physicians to do this, and Bicocca believes that many of
12
     the Permanente physicians are not doing this for each of the chronic conditions their patients
13
     have.
14
              108.   Two sources exist for the diagnoses that physicians are required to add onto
15
16 Medicare and CalPERS patient records through this process.
17            109.   The first source are diagnoses that these patients had already, confirmed in

18 previous years by other physicians. While, as a matter of first impression, this does not seem to
19 be a violation of regulations, since the patients have already had the diagnoses confirmed by
20
     others, having physicians re-confirm these diagnoses without spending sufficient time on it and
21
     without having any expertise on these diagnoses is still a violation of Medicare’s regulations on
22
     confirming diagnoses for the purpose of risk adjustment.
23
24            110.   The second source of diagnoses that physicians were required to pretend to

25 address were diagnosis items were generated, through data mining, by a computer search of
26 patient records looking for key words that had been entered but never followed up on or
27
     2
         As will be seen in a later section, Permanente tracked physicians’ compliance with the new
28 trainings and established quotas of diagnoses called the “success rate.”
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1    confirmed as a true diagnosis. These diagnoses, about 10% of the total diagnoses to be added,

2    were added on to patient records without any previous confirmation by qualified physicians,
3    meaning they could have been inaccurate.
4
            111.   The data-mined diagnoses would show up under patient names on the “MDP
5
     sheets” that physicians received every day in which patients who needed diagnoses coded had
6
     appointments. Physicians were required to review these records to add more coding when
7
8    necessary.

9           112.   Bicocca provides the following by way of example:

10                 a. Aortic atherosclerosis might be in the report of a chest X-ray from a visit
11                     unrelated to the visit with Bicocca. Bicocca would be required to enter the
12
                       Aortic atherosclerosis diagnosis during his appointment. This is because CMS
13
                       specifically does not allow diagnoses for the purposes of risk adjustment data
14
                       to be added based on radiological testing alone, it must be confirmed and
15
16                     added by a physician.

17                 b. “Asthma” might have appeared in an emergency room note, but not entered

18                     on the patient’s problem list. Bicocca would then be required to determine if
19                     that patient did indeed have this condition (something a specialist like Bicocca
20
                       did not have the qualifications to do, since it falls outside of his specialty).
21
                       Bicocca was supposed to enter the diagnosis on their problem list and code for
22
                       it.
23
24                 c. If a patient comes to see Bicocca for a facet injection, but also has diabetes,

25                     high blood pressure, a history of cancer, depression, or high cholesterol, then

26                     the foregoing policy would obligate Bicocca and other physicians to confirm
27                     all of the above conditions are still present, certify that the patient’s conditions
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1                       are stable, and recommend the patient follow-up as necessary with their

2                       primary care physician or specialist. Bicocca, a pain management physician, is
3                       not trained and does not have the expertise or ability to manage the patient’s
4
                        cancer or depression. Nor are some of the above conditions relevant to
5
                        Bicocca’s medical decision making regarding the patient’s pain management
6
                        issues. However, he would still be obligated to record, using a .FOL
7
8                       statement, that he confirmed the diagnosis of these conditions and discussed

9                       the management of the conditions with the patient.

10          113.    Permanente physicians may not have the expertise to diagnose, confirm, or
11 address the chronic conditions Permanente is pressuring them to address. This is problematic for
12
     patient care and also because CMS guidance states, “the collection of physician data relevant for
13
     risk adjustment is associated with the physician’s specialty.” CMS, Pub. No. 100-16, Medicare
14
     Managed Care Manual, ch. 7, § 120.1.1 (2014), https://www.cms.gov/Regulations-and-
15
16 Guidance/Guidance/Manuals/downloads/mc86c07.pdf
17         114.     Bicocca and other physicians do not typically have appointments which last long

18 enough to discuss each of these conditions in full detail and to, in good faith, write the
19 Permanente-supplied certification in the chart.
20
           115.     Below is a quick overview of Bicocca’s typical appointments, which begin at 7:30
21
     AM every weekday.
22
                    a. As of Fall 2018, forty-five-minute consultations for new patients, with limited
23
24                      discussion of non-pain-related conditions insofar as they would impact any

25                      pain management procedures.

26                  b. Before Fall 2018, initial consults were only thirty minutes, giving physicians
27                      less time for comprehensive chronic condition care.
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1                   c. Thirty-minute procedure appointments, including facet injections. There is

2                       little discussion of any non-pain-related conditions unless any would affect the
3                       immediate procedure. During this appointment, Dr. Bicocca is performing a
4
                        medical procedure.
5
                    d. Thirty-minutes follow-up discussion appointments on the effectiveness of the
6
                        procedure and whether any anything else is needed, including a limited
7
8                       discussion of other conditions for their effect on the recovery.

9          116.     None of the appointments provide Bicocca and other physicians in his practice the

10 time or opportunity to evaluate, diagnose, or manage any chronic conditions a patient may have.
11 Dr. Bicocca has reason to believe that other specialty physicians at Permanente conduct their
12
     appointments in a similar manner and would also not have the time in any given appointment
13
     necessary to discuss, evaluate, or manage a patient’s chronic conditions.
14
           117.     Based on Relator’s experience, patients typically spend 17 to 20 minutes with
15
16 their pain management physicians during a procedure appointment, 25 minutes in a return
17 appointment, 25 minutes during initial consultations, and 40 minutes during initial consultations
18 that occurred after Fall 2018, with five minutes of documentation time, none of which is enough
19 time to describe, discuss, and cover the nearly two dozen chronic conditions listed above. Relator
20
     estimates that his own practice has longer appointments than the norm for specialists, which he
21
     believes are typically around 20 minutes each.
22
           118.     Worse, even if they were given the time they needed, in theory, Bicocca and other
23
24 specialist physicians do not have the expertise to fully advise their patients on the various
25 ailments that are listed above.
26         119.     Each of these conditions in themselves require years of study and training in order
27 to conduct a proper consultation or follow up appointment.
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1          120.     For example, a pain management specialist does not have the neurological and

2    psychological training or credentials to conduct a full review of a patient’s Alzheimer’s or
3    schizophrenia. A pain management specialist could not effectively review or manage a patient
4
     with heart failure, atrial fibrillation, ischemic heart disease, hyperlipidemia, and hypertension the
5
     way that a cardiologist could. Typically, only a primary care physician or pulmonologist could
6
     diagnose or manage asthma or chronic obstructive pulmonary.
7
8          121.     In fact, the only condition initially Bicocca felt even nominally comfortable

9    discussing with patients is diabetes, even though he is not an endocrinologist. Dr. Bicocca would

10 discuss a patient’s diabetes but only to the extent that such a condition would affect the patient’s
11 pain management procedure, not a full evaluation with moderate or high complexity in medical
12
     decision-making as is required by the chronic condition management.
13
           122.     Upon reading Medicare’s requirements, Bicocca realized that he was not qualified
14
     to even discuss diabetes by CMS’s standards, and that he only felt comfortable with the topic
15
16 under the false training provided by Defendants.
17         123.     In fact, very few specialists could cover more than just a few of the chronic

18 conditions listed above, and none of the other pain management physicians in Bicocca’s office
19 could do so.
20
           124.     Bicocca and his fellow physicians are instructed to certify something they have
21
     neither the expertise nor time to certify that every patient who comes into the South Sacramento
22
     Medical Center is given a comprehensive assessment of all their chronic conditions, all to
23
24 Permanente’s benefit.
25          125.    The result of this essential impossibility for being able to check off chronic

26 conditions at every appointment with Medicare and public benefits patients at Permanente is that
27 every physician is either misled into or forced into falsely confirming diagnoses, and creating a
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1    record in the patient note that the diagnosis was confirmed and discussed. These false statements

2    are all for the purposes of increased reimbursement to Defendants as evidenced by the fact that
3    they are only required for Medicare and CalPERS patients.
4
            126.    In addition, the training in fraudulent documentation Relator and his fellow
5
     physicians received is also occurring at Southern California Permanente and could exist at other
6
     Permanente groups, suggesting a common source from the Permanente Federation.
7
8               b. Defendants track physicians to ensure compliance with its fraud scheme.

9           127.    Defendants have created an internal regulatory system and data-collection

10 apparatus with the sole purpose of tracking whether its physicians are complying with the
11 foregoing requirements.
12
            128.    This includes gathering data on the success rate of each physician, the percentage
13
     of diagnoses the physician had been assigned that were actually confirmed through checking the
14
     MDP box and using the dot phrases.
15
16          129.    When Bicocca voiced his concerns to the training instructors regarding potential

17 fraud, the trainer’s response was that including the statement was not mandatory and should not
18 be included where the physician is not “comfortable” doing so.
19         130. However, the trainers and even Permanente management would immediately
20
     follow up with the expectation that Bicocca be “comfortable” with 90% of diagnoses and
21
     therefore include the statement for at least 90% of the diagnoses he was assigned.
22
            131.    The assurance that checking off all chronic conditions and using the. FOL phrase
23
24 was not mandatory was almost never provided to the physicians during the training, leading most
25 physician to believe that including the statements provided was mandatory.
26          132.    Bicocca, and every physician working with Bicocca, understood that this 90%
27 benchmark is not only a suggestion, but a requirement to be more likely to obtain bonuses,
28
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1    promotions, and other benefits, and a metric by which entire offices, departments, and careers,

2    are judged.
3           133.    Crucially, a dataset that Bicocca obtained from Permanente listing doctors and
4
     their success rates shows that most physicians have scores that meet the 90% requirement,
5
     suggesting that Permanente’s instructions led to physicians including this language with nearly
6
     every single Medicare and CalPERS patient.
7
8           134.    Defendants do this by turning chronic condition management into a performance

9    metric in all but name for all physicians: while never explicitly stated, Bicocca and his coworkers

10 understood that a good “success rate” – i.e. providing to Defendants as many diagnoses as
11 possible and certifying chronic care management – was a means to increased salary, bonuses,
12
     and potentially other benefits, such as promotion.
13
            135.    A weekly email send to Bicocca and others with success rate information contains
14
     a disclaimer that reads “Reminder -The Chiefs Weekly Efficiency Dashboard and individual
15
16 clinician efficiency information is intended for Chiefs, PM’s and Documentation & Coding
17 Consultants to help them id Departments and Clinicians who may need additional operational
18 support to fully and accurately document diagnosed conditions for the risk adjusted population. It
19 is not intended to be used as a target metric that any individual clinician must achieve.”
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1           136.    However, individual clinicians are being rated along this metric. An implicit

2    understanding exists between clinicians and their managers that these metrics are one of several
3    that impact performance scores, and therefore impact bonuses and other opportunities.
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20          137.    Documents such as the above are sent out weekly, with updated numbers to
21
     encourage further compliance among physicians. The dataset contains 1,000 physicians that have
22
     a 100% success rate. A 100% success rate would be difficult to achieve were it not for
23
     Defendants’ intentional oversimplification of what was necessary to diagnose, confirm, and
24
25 manage the chronic conditions.
26          138.    Defendants made clear that the “success rate” was as much a part of a physician’s

27 record as any official performance metric. Bicocca himself once got an email from a compliance
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1    officer at Permanente stating that his success rate was too low and suggested additional training.

2    Bicocca declined additional training, as he was near retirement and did not fear any potential
3    repercussions. He did not face immediate consequences but believes that he would likely have
4
     suffered long-term consequences had he stayed at Permanente.
5
            139.    This pressure to comply with Defendants’ chronic condition certification and
6
     management system is nearly all-encompassing, as one third of Permanente patients are
7
8    Medicare patients, and one in ten of Permanente’s patients are CalPERS patients.

9               c. Defendants dot phrases are false statements in support of false claims for
                   increased capitated rates.
10
            140.    Defendants require use of the dot phrases to make it appear as if the Permanente
11
12 physicians have done more than simply tick off a check box with it comes to diagnosing and
13 managing chronic conditions.
14          141.    The language coded in the dot phrases are placed into the patient’s EMR and
15 indicate that the physician performed much more work that Bicocca alleges most physicians do
16
     when it comes to a patient’s chronic conditions.
17
            142.    Additionally, as evidenced by Bicocca’s email communications with
18
     management, the dot phrases do not accurately reflect the work the physicians are doing or the
19
20 work that management expects them to do. As such, these statements are false.
21          143.    These false dot phrase statements support an appearance of properly diagnosing,

22 confirming the diagnosis, and discussing the chronic conditions in support of continued,
23 increased capitation rates.
24
            144.    Relator also recalls discussions of these dot phrases and their purposes being
25
     related to financial incentives during trainings on the chronic condition management
26
     requirements. The trainers that Bicocca recalls arriving in 2015 told physicians that inputting
27
28 these diagnoses codes are vital to their paychecks, i.e. Permanente could not hire, provide raises
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1    and promotions, and could not buy any new equipment. Bicocca was also instructed that each of

2    the chronic conditions for Medicare and CalPERS patients had to be checked off (essentially
3    confirming the continued existence of the diagnosis) every year for Defendants to be paid for
4
     that patient.
5
             145.    What these 2015 and onward trainings conveyed was that filling these diagnoses
6
     out, and checking that they had been reviewed in subsequent visits, is the how Permanente gets
7
8    paid, and that certain patients have more funds as a part of their public insurance plans, and that

9    the .FOL statement leads to higher reimbursement.

10               d. Bicocca Raises Concerns About Permanente’s Unlawful Practices
11           146.    Over the course of multiple mass emails and several regular trainings, Bicocca
12
     and other physicians received instruction to include every problem that qualifies as chronic for a
13
     patient in that patient’s chart after the appointment.
14
             147.    In or around 2015, Guardino gave the first mandatory educational meeting at
15
16 South Sacramento Medical Center. His original statement, mirrored by the PowerPoint
17 presentation he showed the audience, was something to the effect of “for this new billing
18 process, you must check and discuss every chronic condition, and then you’re done.”
19        148. The implication here is that any mention of a condition by the physician or
20
     patient, even inquiring if the patient has the condition, warranted certification that the chronic
21
     conditions were present and being managed.
22
             149.    In or around 2015, another trainer stated that if a patient states in response to a
23
24 question that he or she is taking medication for a certain condition, this would satisfy that the
25 condition was present and being managed. This is in direct contradiction to the foregoing
26 guidelines and Bicocca’s opinion of what it requires for a medical professional to diagnose,
27 confirm the diagnosis, or manage a condition.
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1            150.    Relator immediately reached out to the training staff after the session was

2    complete to note that the training materials could not possibly be accurate, as they imply that
3    Permanente is asking physicians to diagnose and “manage” conditions that they have no time nor
4
     expertise to diagnose or manage.
5
             151.    Over time, the training staff responded, only to Bicocca, that he was only to
6
     manage chronic conditions he was “comfortable with,” such as diabetes. This seemed to be a
7
8    softening of their position, until they stated that he was required to be “comfortable with” 95% of

9    the conditions listed above. The clarification in Permanente’s requirement for physicians was

10 only given to Bicocca after he pushed back, it was not distributed to all physicians who
11 previously received training to check off the condition and use the .FOL statement if the patient
12
     so much as mentioned they were on medication for a chronic condition.
13
             152.    Worse, Defendants, through training staff and regular check in meetings, implied
14
     that physicians would be disciplined or otherwise adversely acted upon if they did not meet this
15
16 threshold. Examples of this were a reduction of bonus.
17           153.    After the first training, in which physicians were told by the training staff from

18 Permanente that they needed to check nearly every box showing stability in the patient’s chronic
19 condition, Permanente sent non-physician trainers to every department to ensure that this
20
     directive was being followed.
21
             154.    At one point, the trainers specifically told Bicocca that a patient who was taking
22
     an antidepressant qualified to be marked as “stable” under the chronic condition of depression.
23
24 Relator told the trainers that taking an antidepressant is in no way proof that a patient is stable in
25 that area, and that he could not determine such a thing, since he is not a psychiatrist or a primary
26 care physician.
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1           155.      Every week, the administrative chiefs of every department received emails

2    detailing which doctors were not checking at least 90% of the listed chronic conditions with
3    every patient.
4
            156.      In meetings between department chiefs, the group would discuss which
5
     departments were most successful in meeting this criterion.
6
            157.      At one point in time, the highest achieving department in South Sacramento was
7
8    Orthopedic Surgery, where most of the physicians would not have the clinical expertise to

9    diagnose, confirm, or manage these conditions to the extent required by CMS.

10          158.      As the Chief of Pain Management at the time, other physicians under Bicocca’s
11 supervision brought concerns to Bicocca about the practice.
12
            159.      On August 11, 2015, shortly after another meeting in which Bicocca was given
13
     suspect training on what was required or chronic conditions, Bicocca called Manager of
14
     Financial Services Jeremy Lawrence to express his concerns about the chronic condition
15
16 language mandate Defendants were requiring.
17          160.      Lawrence immediately forwarded these concerns to Serene Tran, Guardino, and

18 Keshia Redmond, stating: “Dr. Bicocca indicated that he was told during the meeting today that
19 .FOL had changed to indicate more of a ‘yes, I confirm these conditions are still listed in
20
     Healthconnect’ type of statement. He is concerned about fraud since it’s unlikely that he (or
21
     most other specialists) won’t actually ask about or address conditions outside of what they are
22
     treating the patient for.” (emphasis added).
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21         161.    Guardino responded on the same day, stating that simply asking if the patient has

22 a condition is enough to mark the condition as having been managed.
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            162.   Tran’s answer repeated that simply asking about and reviewing the diagnosis
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     would be enough, if one’s medical judgment was “implicitly” influenced by the diagnosis.
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21          163.   Bicocca responded to these emails on August 13, 2015, by pointing out the lack of
22 consistency between Guardino and Tran, along with the lack of consistency between what was
23
     discussed via email, and what had been discussed earlier during trainings, when the requirements
24
     were implied to be even looser.
25
            164.   Bicocca then asked “[w]hy are we promoting the use of a phrase we know is
26
27 making our medical documentation incorrect. I think that is fraud.”
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24          165.    Guardino, pushed back with his own email, reproduced below, and the practices
25
     have continued. Guardino’s email glosses over the actual requirements by CMS, and instead
26
     dissects the certification that Permanente pressures physicians into using.
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21          166.    The last set of emails from Bicocca include Regional Physician Director of

22 Clinical Documentation and Coding Dr. Steve Olson, who these concerns were escalated up to
23 afterwards.
24
            167.    Dr. Olson oversaw training physicians on the chronic condition and .FOL
25
     language for Permanente.
26
            168.    Olson responded by stating, again not engaging with the substance of Bicocca’s
27
28 worries: “if someone is on an anti depressant, and has a prior diagnosis of depression, it may not
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1    be out of scope to ask if the patient is still taking the medication for depression that is listed on

2    the medication list. If the patient says yes, and relates that s/he is being followed by PCP, etc,
3    then would feel comfortable using the .FOL statement.”
4
             169.    Once again, Olson’s response was markedly different and more stringent than
5
     what Bicocca was told during trainings, but still essentially recommended that physicians mark
6
     diagnoses and their management simply by asking patients about their conditions.
7
8            170.    Importantly, in explaining this, Olson did confirm that the point of these trainings

9    was the capture of diagnoses for risk adjustment.

10
11
12
13
             171.    In one of the few instances in which Relator Bicocca was able to speak directly
14
15 with Dr. Olson. Olson told Bicocca something to the effect of “of course Mike, if you don’t
16 know anything about hypoparathyroidism then don’t code it.” However, Olson then told Bicocca
17 that he was expected to “know” about 90% of the listed conditions.
18           172.    Relator Bicocca again attempted to raise up the issue and clarify the legality of the
19
     certification he has been told to insert into his medical notes in September 2017.
20
             173.    On September 18, 2017, Relator wrote to Jason Gritti, the doctor who was then
21
     responsible for trainings at South Sacramento, as well as Galina Flury and Keshia Redmond, to
22
23 confirm what the coder who visited his office said was correct: “She said as long as we ‘address’
24 the problems and she was clear that all that needs is to confirm they were on a medication for
25 that problem and tell them to follow up with the treating MD if needed. We could then include
26 the visit diagnoses and a statement saying, ‘these diagnoses were addressed today and the patient
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1    was told to follow up with their treating provider if needed’.” This was the same instruction

2    Bicocca spent weeks clarifying with Dr. Olson in 2015.
3           174.    Gritti responded on the same day, stating “If you specifically address each item
4
     e.g. Migraine: continue topomax [sic] and follow up with the pcp as needed, then that is quite
5
     alright as well. You would just have to ensure you address each and every separate coded item.”
6
            175.    Gritti is essentially telling Relator Bicocca that, if he asks the patient about the
7
8    condition, whether the patient is taking medication, and telling them to follow up with another

9    physician on that condition, that he could diagnose or confirm the diagnosis of a condition and

10 use the .FOL phrase to indicate that the condition was being managed.
11     XI. Conclusion
12
            176.    “Under Medicare Advantage’s capitation system, private health insurance
13
     organizations provide Medicare benefits in exchange for a fixed monthly fee per person enrolled
14
     in the program—regardless of actual healthcare usage. These organizations pocket for
15
16 themselves or pay out to their enrollees’ providers the difference between their capitation
17 revenue and their enrollees’ medical expenses, creating an incentive for the organizations to rein
18 in costs. Unfortunately, human nature being what it is, Medicare Advantage organizations also
19 have some incentive to improperly inflate their enrollees’ capitation rates, if these organizations
20
     fall prey to greed.” WellPoint, Inc., 904 F.3d at 667 (internal citations omitted).
21
            177.    A common form of fraud, one that is occurring here, is falsely claiming to provide
22
     coverage and services to a beneficiary population that is not as sick as claimed.
23
24          178.    By explicit setting up separate requirements for physicians treating Medicare

25 beneficiaries and patients with other public benefits plans differently than private pay or
26 employer-based insurance, Defendants demonstrate knowledge that checking off additional
27
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1    chronic conditions and using the .FOL language is material to the Government’s decision to pay

2    increased capitation for public benefits beneficiaries.
3            179.   Defendants are aware of the issues with this method of billing due to Bicocca
4
     raising the concerns of multiple physicians related to this issue.
5
             180.   Defendants’ misrepresentations are material to the government’s decision to
6
     continue paying Defendants its capitation rate under the assumption patients are sicker than they
7
8    really are.

9            181.   As a result, the government and the state have been damaged in a yet to be

10 quantified amount.
11                                          COUNT I
12                     Defendant Knowingly Presents, or Causes to be Presented
                                           False Claims
13                                   31 U.S.C. § 3729(a)(1)(A)

14           182.   Relator reasserts and incorporates by reference all paragraphs set forth above as if
15 restated herein.
16
             183.   31 U.S.C. § 3729(a)(1)(A) subjects to liability any person or entity that
17
     “knowingly presents, uses, or causes to be presented, a false or fraudulent claim for payment or
18
     approval.”
19
20           184.   Defendants knowingly presented or caused to be presented to the United States,

21 false or fraudulent claims, and knowingly failed to disclose material facts, in order to obtain
22 payment or approval under the federally funded Medicare program in violation of 31 U.S.C.
23 § 3729(a)(1)(A).
24
             185.   Defendants knowingly submitted claims and received payment from the United
25
     States of America through CMS for inflated capitation rates that were based on false reporting of
26
     risk adjustment data by Defendants.
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1           186.    The United States of America has been damaged by all the misrepresentations and

2    failures to comply with requisite laws and regulations in an as of yet undetermined amount.
3                                            COUNT II
4                  Defendant Knowingly Made, Used, or Caused to be Made or Used,
                        False Records or Statements Material to False Claims
5                                     31 U.S.C. § 3729(a)(1)(B)

6           187.    Relator reasserts and incorporates by reference all paragraphs set forth above as if
7    restated herein.
8
            188.    The False Claims Act imposes liability on any person who knowingly makes,
9
     uses, or causes to be made or used a false record or statement material to a false or fraudulent
10
     claim. 31 U.S.C. § 3729(a)(1)(B).
11
12          189.    As a result of Defendants’ actions, the Government paid funds from the Medicare

13 Advantage program for capitation rates covering services not actually rendered.
14          190.    As a result of Defendants’ actions, the Government paid funds from the Medicare
15 programs for services that were not or could not be performed.
16
            191.    Defendants knowingly made or used false records material to false claims when
17
     they, among other things, created records that indicated physicians rendered appropriate case
18
     management services, when in fact, appropriate case management services were not rendered to
19
20 patients.
21          192.    The United States of America has been damaged by all the misrepresentations and

22 failures to comply with requisite laws and regulations in an as of yet undetermined amount.
23                                           COUNT III
24                              California False Claims Act Violations
                              Pursuant to Cal. Gov't Code § 12651(a)(1)
25                          Knowingly Submitting False Claims for Payment

26          193.    Relator reasserts and incorporates by reference all paragraphs set forth above as
27 restated herein.
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1              194.   Defendants, individually and through the acts of their agents, servants, officers,

2    and employees, knowingly presented, or caused to be presented, to an officer or employee of the
3    California government, false or fraudulent claims for payment or approval under the CalPERS
4
     program in violation of Cal. Gov’t. Code § 12651 (a)(1).
5
               195.   Defendants knowingly presented, or caused to be presented, to an officer or
6
     employee of the California government, false or fraudulent claims for payment or approval under
7
8    the CalPERS program in violation of Cal. Gov’t. Code § 12651 (a)(1).

9              196.   Cal. Gov’t. Code § 12651 (a)(1) imposes liability on a person or entity that

10 knowingly presented, or caused to be presented, to an officer or employee of the California
11 government, false or fraudulent claims for payment or approval.
12
               197.   The government of California, unaware of the falsity of the claims made by
13
     Defendants and in reliance on the accuracy thereof, paid Defendants for such false or fraudulent
14
     claims.
15
16             198.   Defendants violate Cal. Gov’t. Code § 12651 (a)(1) when they submit claims for

17 inflated capitation rates that were based on false reporting of risk adjustment data by Defendants.
18             199.   The claims submitted by Defendants are material to the state of California’s
19 decision on whether, and how much, to pay Defendants for services provided to CalPERS
20
     beneficiaries.
21
               200.   By reasons of the acts and conduct of Defendants in violation of Cal. Gov’t. Code
22
     § 12651 (a)(1), the government of California has suffered actual damages, including the amounts
23
24 paid in response to all such false or fraudulent claims for payment.
25             201.   The state of California is entitled to recover civil money penalties, and other

26 monetary relief as deemed appropriate.
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1                                             COUNT IV
                                 California False Claims Act Violations
2                              Pursuant to Cal. Gov’t Code § 12651 (a)(2)
                        Knowingly Making False Records Material to a False Claim
3
4           202.    Relator reasserts and incorporates by reference all paragraphs set forth above as

5    restated herein.

6           203.    Defendants, individually and by their own acts, or through the acts of their agents,
7    servants, officers, and employees, knowingly made, used, or caused to be made or used, a false
8
     record or statement material to a false or fraudulent claim in violation of Cal. Gov’t Code
9
     § 12651 (a)(2).
10
            204.    Defendants knowingly made, used, or caused to be made or used, a false record or
11
12 statement material to a false or fraudulent claim in violation of Cal. Gov’t Code § 12651 (a)(2).
13          205.    Defendants violate Cal. Gov’t Code § 12651 (a)(2) when they knowingly made or

14 used false records material to false claims when they, among other things, created records that
15 indicated physicians rendered appropriate case management services, when in fact, appropriate
16
     case management services were not rendered to patients.
17
            206.    At all relevant times, Defendants were aware of, and displayed a conscience and
18
     reckless disregard for, the applicable CalPERS rules and regulations regarding the submission of
19
20 claims for payment.
21          207.    The false statements created and submitted by Defendants is material to the state’s

22 decision on whether, and how much, to pay Defendants for services provided to CalPERS
23 beneficiaries.
24
            208.    By reasons of the acts and conduct of Defendants in violation of Cal. Gov’t Code
25
     § 12651 (a)(2), the State of California has suffered actual damages, including the amounts paid
26
     in response to all such false or fraudulently supported claims for payment.
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1            209.    The state of California is entitled to recover civil money penalties, and other

2    monetary relief as deemed appropriate.
3                                         PRAYER FOR RELIEF
4
5            WHEREFORE, Relator Michael Bicocca, acting on behalf of and in the name of the

6    United States of America and the State of California, and on his own behalf, pray that judgment
7    be entered against Defendants for violation of the False Claims Act as follows:
8
         (a) In favor of the United States and State of California against the Defendants for treble
9
             damages to the federal and State government from the submission of false claims, and the
10
             maximum civil penalties for each violation of the False Claims Acts and California False
11
12           Claims Act;

13       (b) In favor of the Relator for the maximum amount pursuant to 31 U.S.C. § 3730(d) to

14           include reasonable expenses, attorney fees, and costs incurred by the Relator;
15       (c) For all costs of the False Claims Act and California False Claims Act civil action; and
16
         (d) In favor of the Relator, the United States, and California for further relief as this court
17
             deems just and equitable.
18
                                     DEMAND FOR A JURY TRIAL
19
20           Pursuant to Rule 38 of the Federal Rules of Civil Procedure and pursuant to the local

21 rules of this Court, Relator demands a jury trial as to all issues so triable.
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1         October 2, 2020                       Respectfully submitted,

2
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